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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 DENISE DIAZ,                                               DECLARATION OF
                                                            ELIZABETH N. KRASNOW
                                        Plaintiff,          IN SUPPORT OF
                                                            INVESTIGATOR FLORES’
                        -against-                           MOTION FOR SUMMARY
                                                            JUDGMENT
 CITY OF NEW YORK, et al.,
                                                            13 Civ. 8281 (JCF)
                                    Defendants.


        ELIZABETH N. KRASNOW, an attorney duly admitted to practice in the State of

New York, declares under penalty of perjury and pursuant to 28 U.S.C. §1746, that the

following is true and correct:

                1.      I am an Assistant District Attorney in the New York County District

Attorney’s Office (“DANY”). I represent defendant Investigator Jose Flores in the above-

captioned matter brought by plaintiff Denise Diaz.

                2.      I respectfully submit the exhibits listed below in support of

Investigator Flores’ motion for summary judgment.

          Exh. A             DANY Investigations Bureau Opening Report and Follow-Up
                             Reports

          Exh. B             Affidavit of Investigator Jon Reid in support of a search
                             warrant and the endorsed warrant

          Exh. C             Excerpts of the deposition of Denise Diaz

          Exh. D             Summons and complaint in asset forfeiture action filed by
                             DANY against Diaz

          Exh. E             Verified answer in asset forfeiture action

          Exh. F             Checks from IT & Security Solutions to Diaz dated
                             10/14/2010, 10/22/2010, 10/28/2010, and 11/5/2010,
                             11/16/2010

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         Exh. G             Photographs taken by DANY investigators on November 24,
                            2010 in connection with the arrest of George Castro

         Exh. H             Excerpts of the deposition of Anthony Borelli

         Exh. I             Excerpts of the deposition of Jose Flores

         Exh. J             Declaration of Brandon del Pozo

         Exh. K             Internal Affairs Bureau (“IAB”) Investigating Officer’s Reports
                            for Corruption Case #10-58607

         Exh. L             IAB log for Corruption Case #10-58607

         Exh. M             Report dated November 24, 2010 under IAB Log #10-58607
                            concerning modification of Diaz

         Exh. N             Excerpt of the command log of the 24th precinct

         Exh. O             Declaration of Catherine Montaruli

         Exh. P             IAB closing report for Corruption Case #10-58607

         Exh. Q             Check from Diaz to DANY dated April 13, 2011

         Exh. R             Certificate of disposition in People v. Castro, New York County
                            Indictment No. 2922/2011

         Exh. S             Memorandum from Commanding Officer of IAB Group 10
                            recommending Charges and Specifications against Diaz, dated
                            June 13, 2014

         Exh. T             Text message exchange between Diaz and Castro, dated
                            October 4, 2010



               3.      On the afternoon of October 29, 2015, plaintiff’s counsel provided

me with an executed errata sheet for his client’s deposition. Under Federal Rule of Civil

Procedure 30(e)(1), a party must request an opportunity to complete an errata sheet before

the deposition concludes and must return the executed errata sheet within 30 days of the

transcript becoming available. Plaintiff’s counsel did not make such a request during the


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deposition and I provided him a copy of the transcript on August 27, 2015. I did not receive

the errata sheet until the day before the deadline to file Investigator Flores’ motion, which

relies on the transcript. However, having reviewed the errata sheet, I do not have an

objection to the majority of the changes and therefore am filing it as part of Exhibit C. I am

reserving my objection to the changes that say “missing statement,” “wrong statement

written,” or “missing words to statement” as I have no way to know what Sergeant Diaz

thinks she may have said, or not said, that is not erroneously missing from, or reflected in,

the transcript. Those charges are to the following pages and lines: 64:11, 72:25, 73:14,

74:22, and 75:18.


Dated:          October 29, 2015
                New York, New York


                                                        _____/s________________
                                                        Elizabeth Norris Krasnow
                                                        Assistant District Attorney




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